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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA          :
                                  :       No. 21-CR-383
           v.                     :
                                  :
PATRICK STEDMAN                   :
                                  :


     DEFENDANT’S REPLY TO GOVERNMENT’S MOTION TO REVISE
                    CONDITIONS OF RELEASE
                   (Docket Document # 19)


      Defendant Patrick Stedman, by and through his

counsel Rocco C. Cipparone Jr., Esq., hereby submits

this response to the government’s moves August 24, 2021

filed motion to modify the conditions of his release:

the Court for permission to withdraw as counsel for

Appellant in the above-captioned appeal, and in support

thereof, states as follows:

1.    While the tweet by Mr. Stedman which is complained

of in the government’s motion certainly was not

intended by Mr. Stedman in any way to intimidate any

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witness against him in this matter as a witness 1, Mr.

Stedman has no objection to a modification of the

conditions of release as requested by the government

(with one clarification outlined below in paragraph 2)

that he have no contact with “anyone is or who may be”

a victim or witness in the prosecution.

2.   The additional restriction sought by the

government, and agreeable to by Mr. Stedman, for

clarity and to avoid vagaries should state that Mr.

Stedman is precluded from contact “with anyone known to

him, or identified by the government, as potential

witness or victim in this matter”. Without that

qualifier the proposed additional condition is too

broad and is rife for unintentional violation by Mr.

Stedman.    The government has not provided a list of

potential witness or identified who should be

considered victims in the case.            While Mr. Stedman has

no desire to have any such contact, the government

1 The backdrop of this complained of tweeting to and from is set
forth infra to give the Court insight into the context of the
complained of tweet by Mr. Stedman.
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should be required to identify who it considers

potential witnesses and who it considers victims to

avoid any vagaries or unknowing contact by Mr. Stedman

with such persons that would lead to a claim of

violation of the revised Order.

3.    Although it was not his intention to in any way

be intimidating, Mr. Stedman now clearly fully

understands the reaction to his tweet and apologizes,

accepting full responsibility.           The below information

is provided merely to give the Court further insight

that Mr. Stedman’s reaction (again in hindsight

regrettably) was in large measure a frustrated reaction

to “Mike” harassing Mr. Stedman through tweets.

Indeed, Mr. Stedman had attempted to block this person

from his twitter account so it would stop, but “Mike”

continued to circumvent the blocking by using alias

twitter accounts indeed to tweet about and to Mr.

Stedman in a harassing fashion.           Examples of such

appear below.    Again, this information is presented for

context for the Court.        Mr. Stedman regrets the tweet
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complained of and it was a reaction to “Mike” harassing

him.

4.     Examples of “Mike’s” tweets targeted to Mr. Stedman

include mocking Mr. Stedman’s career/business as a

dating coach (see below) and his high school activities,

mocking that his family probably lost friendships

because of Mr. Stedman’s charges, circumventing Mr.

Stedman’s attempts to block him from his (Mr. Stedman’s)

accounts, and gleefully announcing that he would be live

tweeting Mr. Stedman’s arraignment in this matter.                      Some

such tweets are:




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5.   In context the Court should maintain the bail

conditions as presently exist with the additional

condition that Mr. Stedman refrain from any contact

with known or identified government witnesses



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or victims.

                    Respectfully submitted,

                    Law Offices of Rocco C. Cipparone, Jr.

              BY: /s/Rocco C. Cipparone Jr.
                  Rocco C. Cipparone, Jr., Esquire
                  Dated: 08-31-2021




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